                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                            ROANOKE DIVISION

DAVID JOHN BROUSSARD,

        Plaintiff, on his own behalf,
        and for all those similarly
        situated pursuant to
        29 U.S.C. § 216(b),
                                                  Civil Action No: 7:19cv841
v.

ELDOR AUTOMOTIVE
POWERTRAIN USA,

Serve:
CT Corporation System, Registered Agent
4701 Cox Road, Suite 285
Glen Allen, VA 23060

        Defendant.

                                     COMPLAINT

        The above-named Plaintiff, David John Broussard (hereinafter, “Mr. Broussard”

or “the Representative Plaintiff”), by counsel, states as his Complaint against Defendant,

ELDOR Automotive Powertrain USA (hereinafter, “ELDOR” or “Defendant”), the

following:

                                  I. JURISDICTION

        Pursuant to the enforcement mechanisms of the Fair Labor Standards Act of

1938, as amended, 29 U.S.C. § 201 et seq. (hereinafter, “FLSA”), the Representative

Plaintiff brings this action on behalf of himself as well as all those similarly situated

(hereinafter, “Collective Action Members”). This Court has jurisdiction over this matter

as it arises from the federal questions presented by the FLSA, as codified under 29

U.S.C. §§ 206, 207 and 216; see also Title 28 U.S.C. §§ 1331, 1337, 2201, and 2202. The




     Case 7:19-cv-00841-MFU Document 1 1 Filed 12/13/19 Page 1 of 9 Pageid#: 1
FLSA allows employees to initiate legal actions for themselves and on behalf of similarly

situated others. Specifically, the statute authorizes “one or more employees” to initiate a

suit “for and on behalf of himself or themselves and other employees similarly situated.”

29 U.S.C. § 216(b); see also Smith v. Central Security Bureau, Inc., 231 F. Supp. 2d 455,

461 (W.D. Va. 2002) (noting that the United States Court of Appeals for the Fourth

Circuit has never expressly foreclosed the possibility that a plaintiff or group of plaintiffs

could bring an action in dual individual and collective capacities, so long as the

complaint clearly has put the employer and the court on notice of such).

       Venue is proper in this Court. A substantial part of the acts and/or omissions of

Defendant from which the causes of action arise, occurred within the Western District of

Virginia. See 28 U.S.C. § 1391(b). Specifically, the Representative Plaintiff resided and

worked in and near Daleville, Virginia during his employment with Defendant.

                                    II. THE PARTIES

       1.     The Representative Plaintiff and Collective Action Members are all either

current or former ELDOR “Process Engineers”. Process Engineers are responsible for

developing and supporting a production line for three eight-hour workday shifts at

ELDOR’s Daleville, Virginia manufacturing facility.

       2.     ELDOR Process Engineers are paid a fixed annual salary, and are not paid,

nor eligible for, any additional compensation, including overtime compensation.

       3.     The Representative Plaintiff and Collective Action Members, at all times

relevant to the Complaint, were “employees” of ELDOR, as that term is defined in 29

U.S.C. § 203(e)(1).

       4.     The Representative Plaintiff has worked as a Process Engineer for ELDOR

since on or about September 8, 2017. His decision to opt-in to this collective action is



   Case 7:19-cv-00841-MFU Document 1 2 Filed 12/13/19 Page 2 of 9 Pageid#: 2
evinced by EXHIBIT A hereto.

        5.    ELDOR, a Delaware-incorporated subsidiary of Italy-based automotive

manufacturer Eldor Corporation S.p.A., is a diversified automotive manufacturer,

supplying ignition systems, electronic control units, full systems for hybrid and electric

vehicles and e-mobility solutions globally.

        6.    ELDOR maintains its North American manufacturing headquarters in

Daleville, Virginia.

        7.    At all times relevant to the Complaint, ELDOR was an “enterprise engaged

in the commerce or the production of goods for commerce” as defined in 29 U.S.C. §

203(s)(1).

        8.    At all times relevant to the Complaint, ELDOR was an “employer” of the

Representative Plaintiff, as that term is defined in 29 U.S.C. § 203(d) and bound to

comply with FLSA wage and overtime compensation requirements.

                           III. FACTUAL BACKGROUND

        9.    At all times relevant to the Complaint, ELDOR violated the FLSA in two

ways:

              A) ELDOR knowingly and improperly misclassified the Representative

                  Plaintiff and Collective Action Members as exempt “professional” or

                  “administrative” employees pursuant to the FLSA; and

              B) The Representative Plaintiff and Collective Action Members were

                  entitled to overtime wages, but due to their improper misclassification,

                  ELDOR failed to appropriately compensate the Representative Plaintiff

                  and Collective Action Members.

        10.   ELDOR Process Engineers routinely work more than 50 hours a week, are



   Case 7:19-cv-00841-MFU Document 1 3 Filed 12/13/19 Page 3 of 9 Pageid#: 3
asked to work extra shifts, and are required to be “on call” 24 hours a day, seven days a

week, to answer service calls and work additional overtime hours, in addition to their

scheduled 40 hour work week at ELDOR’s Daleville manufacturing facility.

       11.      ELDOR Process Engineers are not compensated for any work performed

beyond their scheduled 40-hour work week, including any work performed as a result of

off-hours service calls, which can occur at any time during a 24-hour period.

       12.      Upon information and belief, ELDOR knowingly and in bad faith has

improperly classified Process Engineers as either “professional” or “administrative”

employees who are exempt from the overtime pay requirements of the FLSA. The actual

job duties of the Process Engineers do not support either of these exemptions.

       13.      As it relates to the improper “professional” exemption, Process Engineers

are not required to have knowledge of an advanced type in a field of science or learning

customarily acquired by a prolonged course of specialized intellectual instructions.

Indeed, in practice, Process Engineers are not required to possess engineering or

equivalent degrees or experience.

       14.      As it relates to the improper “administrative” exemption, the primary

duties of Process Engineers do not include the performance of “office” work related to

the management or general business operations of the employer, nor do the Process

Engineers exercise discretion and independent judgment with respect to matters of

significance.

       15.      Specifically, although ELDOR Process Engineers maintain an “engineer”

title, Process Engineers working for ELDOR do not hold engineering degrees, nor do

they perform specific engineering work.

       16.      Indeed, although ELDOR’s Process Engineer job profile requires that



   Case 7:19-cv-00841-MFU Document 1 4 Filed 12/13/19 Page 4 of 9 Pageid#: 4
successful applicants have an Engineering Bachelor’s degree or an Associate degree with

equivalent experience, in practice, ELDOR Process Engineers, including the

Representative Plaintiff, do not hold such degrees, and have little to no supervisory or

decision making authority in their role at the manufacturing facility.

       17.   Rather, the day-to-day job responsibilities of an ELDOR Process Engineer

are effectively interchangeable with the job responsibilities of an ELDOR “Technician”, a

position ELDOR has classified as non-exempt, and, thus eligible for overtime

compensation.

       18.   However, ELDOR Technicians are not required to be “on call”.

       19.   Upon information and belief, ELDOR requires its similarly situated

Process Engineers, who are misclassified as exempt from FLSA overtime pay

requirements, to perform unpaid overtime work in a concerted effort to avoid paying its

employees earned overtime compensation.

       20.   Of note, the Representative Plaintiff, on two separate occasions, discussed

his concerns about unpaid overtime work and ELDOR’s misclassification of its Process

Engineers to ELDOR’s former Human Resources Director Bridget Farmer and Plant

Manager Fabio Pisconi, but his concerns were never meaningfully addressed by ELDOR.

       21.   Accordingly, Process Engineers remain improperly classified as exempt

employees, and do not receive the significant overtime compensation to which they are

entitled.




   Case 7:19-cv-00841-MFU Document 1 5 Filed 12/13/19 Page 5 of 9 Pageid#: 5
               COUNT I: CLAIM FOR VIOLATION OF THE FLSA

                                  Misclassification

      22.    The Representative Plaintiff incorporates by reference herein the

preceding paragraphs of this Complaint.

      23.    Upon information and belief, ELDOR knowingly and in bad faith has

improperly classified Process Engineers as either “professional” or “administrative”

employees who are exempt from the overtime pay requirements of the FLSA.

      24.    The actual job duties and qualifications of ELDOR Process Engineers do

not support either of these exemptions.

      25.    Accordingly, the Representative Plaintiff and Collective Action Members

are not classified properly as exempt employees.

      26.    At all times relevant to the Complaint, ELDOR was fully aware of the

exemption requirements of the FLSA and knew or should have known that the

Representative Plaintiff and Collective Action Members did not qualify for any

exemption from these requirements.

      27.    ELDOR willfully and unlawfully ignored the exemption requirements of

the FLSA.

      28.    ELDOR cannot show that its violations of the FLSA were in good faith and

that it has reasonable grounds for believing that its ongoing acts or omissions were not

violations of the FLSA.

      29.    As used herein, “willful” is meant in accordance with 29 U.S.C. § 255(a),

and “good faith” and “reasonable grounds” is meant in accordance with 29 U.S.C. § 260.

      30.    ELDOR is liable under the FLSA to the Representative Plaintiff and

Collective Action Members for actual and liquidated damages for its willful and bad faith



  Case 7:19-cv-00841-MFU Document 1 6 Filed 12/13/19 Page 6 of 9 Pageid#: 6
misclassification as described above.

               COUNT II: CLAIM FOR VIOLATION OF THE FLSA

                                Failure to Pay Overtime

       31.    The Representative Plaintiff incorporates by reference herein the

preceding paragraphs of this Complaint.

       32.    At all times relevant to the Complaint, the Representative Plaintiff and

Collective Action Members were not compensated for any work performed beyond their

scheduled 40-hour work week, including, but not limited to, any work performed as a

result of extra shifts and/or off-hours service calls.

       33.    The Representative Plaintiff and Collective Action Members regularly

work more than 40 hours per week for ELDOR.

       34.    The Representative Plaintiff and Collective Action Members were not

exempt from the overtime compensation requirements of the FLSA.

       35.    Under the FLSA, ELDOR was required to compensate the Representative

Plaintiff and Collective Action Members at the appropriate rate of overtime pay for each

hour over forty (40) they worked in a week for all job-related services provided to

ELDOR.

       36.    ELDOR, acting in bad faith, refused to compensate the Representative

Plaintiff and Collective Action Members at the overtime rate mandated by the FLSA and

refused to pay for work performed for each hour over forty (40) ELDOR Process

Engineers worked in a week.

       37.    At all times relevant to the Complaint, ELDOR was fully aware of the

overtime compensation requirements of the FLSA and knew or should have known that

the Representative Plaintiff and Collective Action Members did not qualify for any



   Case 7:19-cv-00841-MFU Document 1 7 Filed 12/13/19 Page 7 of 9 Pageid#: 7
exemption from these requirements.

      38.      ELDOR willfully and unlawfully misclassified the Representative Plaintiff

and Collective Action Members as exempt employees in order to avoid the overtime

compensation requirements of the FLSA.

      39.      ELDOR cannot show that its ongoing violations of the FLSA were in good

faith or that it has reasonable grounds for believing that its acts or omissions were not

violations of the FLSA.

      40.      As used herein, “willful” is meant in accordance with 29 U.S.C. § 255(a),

and “good faith” and “reasonable grounds” is meant in accordance with 29 U.S.C. § 260.

      41.      ELDOR is liable under the FLSA to the Representative Plaintiff and

Collective Action Members for actual and liquidated damages for its willful and bad faith

failure to pay overtime as described above.



      WHEREFORE, the Representative Plaintiff, David John Broussard, and

Collective Action Members respectfully request the following relief from the Court:

      A. That the Court certify this matter as an opt-in collective action pursuant to 29

            U.S.C. § 216(b);

      B. That the Court grant declaratory judgment that ELDOR violated the FLSA;

      C. That the Court enjoin ELDOR from further violations of the FLSA pursuant to

            29 U.S.C. § 217;

      D. That the Court order ELDOR to pay the Representative Plaintiff and

            Collective Action Members compensatory and actual damages and an equal

            amount of liquidated damages as provided by the FLSA;

      E. That the Court award reasonable attorneys’ fees and costs as provided by the



  Case 7:19-cv-00841-MFU Document 1 8 Filed 12/13/19 Page 8 of 9 Pageid#: 8
        FLSA;

     F. That the Court award prejudgment and post-judgment interest; and

     G. That the Court award such other and further relief as may be just and

        equitable.

TRIAL BY JURY IS DEMANDED.



                                     Respectfully submitted,

                                     DAVID JOHN BROUSSARD,

                                     Plaintiff, on his own behalf, and for
                                     all those similarly situated pursuant to
                                     29 U.S.C. § 216(b)

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  Case 7:19-cv-00841-MFU Document 1 9 Filed 12/13/19 Page 9 of 9 Pageid#: 9
